Case 1:22-cr-00361-CNS Document 1-1 Filed 12/20/22 USDC Colorado Page 1 of 1




 DEFENDANT:           JALIN BISHOP

 YOB:                 1996

 COMPLAINT                   Yes       X    No
 FILED?
                      If Yes, MAGISTRATE CASE NUMBER:

 OFFENSE(S):          Count 1: 21 U.S.C. §§ 841(a)(1), (b)(1)(C)
                      Possession with Intent to Distribute a Controlled Substance (Marijuana)

                      Count 2: 18 U.S.C. § 924(c)(1)
                      Use and Carry of a Firearm During and in Relation to a Drug Trafficking
                      Crime

                      Counts 3: 18 U.S.C. § 924(h)
                      Transfer of Firearm Used to Commit a Drug Trafficking Crime

 LOCATION OF
 OFFENSE:             Mesa County, Colorado

 PENALTY:             Count 1:
                      NMT 20 years’ imprisonment; NMT $1,000,000 fine, or both; NLT 3
                      years’ supervised release; and a $100 special assessment

                      Count 2:
                      NLT 5 years’ and NMT life imprisonment; NMT $250,000 fine, or both;
                      NMT 5 years’ supervised release; and a $100 special assessment

                      Count 3:
                      NMT 10 years’ imprisonment; NMT $250,000 fine or both; NMT 3 years’
                      supervised release; $100 Special Assessment.

AGENT:                Joe Acosta
                      Special Agent, ATF

AUTHORIZED            Conor A. Flanigan
BY:                   Assistant U.S. Attorney

ESTIMATED TIME OF TRIAL:

  X five days or less         ____ over five days

THE GOVERNMENT

  X will seek detention in this case based on 18 U.S.C. § 3141(f)(1).
The statutory presumption of detention is applicable to this defendant.
